Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 1 of 22




                 Exhibit 12
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 2 of 22


                             DEFENDANTS' MOTIONS IN LIMINE AND OTHER PRETRIAL MOTIONS

NAME OF MOTION                                                       DOCKET NO. MOVING PARTIES

Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd.'s Motion in Limine to Exclude Opinions                 Chunghwa Picture Tubes, Ltd.
                                                                  Docket No. 3526
or Calculations Regarding Actual Damages Attributable to the                      Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
Chunghwa Defendants

                                                                                 Hitachi, Ltd.
Hitachi Defendants' Motion in Limine to Compel Plaintiffs to Refer               Hitachi Displays, Ltd. (n/k/a/ Japan Display Inc.)
to Defendant Shenzhen SEG Hitachi Color Display Devices, Ltd. by Docket No. 3536 Hitachi America, Ltd.
its Specific, Individual Corporate Entity Name or as "SEG"                       Hitachi Asia, Ltd.
                                                                                 Hitachi Electronic Devices (USA). Inc.


Indirect Purchaser Plaintiffs’ Motion In Limine No. 1: To Preclude
                                                                     Docket No. 3537 Indirect Purchaser Plaintiffs
Reference to Duplicative Recovery




Indirect Purchaser Plaintiffs’ Motion In Limine No. 2: To Preclude
                                                                     Docket No. 3538 Indirect Purchaser Plaintiffs
Reference to Treble Damages, Fees, and Costs




Indirect Purchaser Plaintiffs’ Motion In Limine No. 3: To Preclude
                                                                     Docket No. 3539 Indirect Purchaser Plaintiffs
Reference to the Financial Condition of Named Plaintiffs




Indirect Purchaser Plaintiffs’ Motion In Limine No. 4: To Preclude
                                                                     Docket No. 3540 Indirect Purchaser Plaintiffs
Reference to Other Lawsuits Filed by Any of the Named Plaintiffs




Indirect Purchaser Plaintiffs’ Motion In Limine No. 5: To Preclude
                                                                     Docket No. 3541 Indirect Purchaser Plaintiffs
Reference to Relationships between Lawyers and Plaintiffs




Indirect Purchaser Plaintiffs’ Motion In Limine No. 6: To Preclude
                                                                     Docket No. 3542 Indirect Purchaser Plaintiffs
Reference to Plaintiffs' Attendance or Non-Attendance at Trial



Indirect Purchaser Plaintiffs’ Motion In Limine No. 7: To Preclude
Reference to or Argument About How Class Plaintiffs Became           Docket No. 3543 Indirect Purchaser Plaintiffs
Involved in This Case or That the Case is "Lawyer-Driven"



Indirect Purchaser Plaintiffs’ Motion In Limine No. 8: To Preclude
Reference to and Exclude Evidence of the Absence of Criminal         Docket No. 3544 Indirect Purchaser Plaintiffs
Indictment, Conviction or Guilty Plea




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                           1                                          Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 3 of 22


NAME OF MOTION                                                         DOCKET NO. MOVING PARTIES

Indirect Purchaser Plaintiffs’ Motion In Limine No. 9: To Preclude
Reference to or Argument About Plaintiffs' Failure to Mitigate         Docket No. 3545 Indirect Purchaser Plaintiffs
Damages



Indirect Purchaser Plaintiffs’ Motion In Limine No. 10: To Exclude
the Testimony of Witnesses not Designated Pursuant to the Court's      Docket No. 3546 Indirect Purchaser Plaintiffs
Scheduling Orders



Indirect Purchaser Plaintiffs’ Motion In Limine No. 11: To Preclude
Argument and Exclude Evidence Regarding Possible Effects of a          Docket No. 3547 Indirect Purchaser Plaintiffs
Large Damage Award



Indirect Purchaser Plaintiffs’ Motion In Limine No. 12: To Exclude
Percipient Witnesses, Except for One Party Representative, from the Docket No. 3548 Indirect Purchaser Plaintiffs
Courtroom Unless They are Testifying



Indirect Purchaser Plaintiffs’ Motion In Limine No. 13: To Preclude
Live Testimony of Defendants' Witnesses Who are Not Made               Docket No. 3549 Indirect Purchaser Plaintiffs
Available to Testify Live in Plaintiffs' Case-in-Chief



Indirect Purchaser Plaintiffs’ Motion In Limine No. 14: To Limit
Defendants' Deposition Designations Presented in Plaintiffs' Case to   Docket No. 3550 Indirect Purchaser Plaintiffs
Reasonable Cross and to Exclude Unrelated Designations



Indirect Purchaser Plaintiffs’ Motion In Limine No. 15: To Preclude
                                                                       Docket No. 3551 Indirect Purchaser Plaintiffs
Reference to the Fact, Terms or Amounts of Prior Settlements




Indirect Purchaser Plaintiffs’ Motion In Limine No. 16: To Preclude
                                                                       Docket No. 3552 Indirect Purchaser Plaintiffs
Reference to and Exclude Evidence of Other CRT Litigations



Indirect Purchaser Plaintiffs’ Motion In Limine No. 17: To (1)
Preclude Argument That the Samsung SDI Guilty Plea Includes DOJ
Findings of Fact; (2) Exclude Evidence of the Volume of Affected
                                                                  Docket No. 3553 Indirect Purchaser Plaintiffs
Sales in the Guilty Plea; (3) Exclude Evidence of the Fact and
Amount of the Criminal Fine; and (4) Exclude Any Statement by the
DOJ Characterizing the CRT Conspiracy



Indirect Purchaser Plaintiffs’ Motion In Limine No. 18: To Preclude
                                                                       Docket No. 3554 Indirect Purchaser Plaintiffs
Argument That Price Fixing was Pro-Competitive or Necessary




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                             2                                          Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 4 of 22


NAME OF MOTION                                                       DOCKET NO. MOVING PARTIES


Indirect Purchaser Plaintiffs’ Motion In Limine No. 19: To Exclude
                                                                     Docket No. 3555 Indirect Purchaser Plaintiffs
Character Evidence


                                                                                     Chunghwa Picture Tubes, Ltd.
                                                                                     Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                     Samsung SDI America, Inc.
                                                                                     Samsung SDI Co., Ltd.
                                                                                     Samsung SDI (Malaysia) SDN. BHD.
                                                                                     Samsung SDI Mexico S.A. DE C.V.
                                                                                     Samsung SDI Brasil Ltda.
                                                                                     Shenzen Samsung SDI Co., Ltd.
                                                                                     Tianjin Samsung SDI Co., Ltd.
                                                                                     LG Electronics, Inc.
                                                                                     Panasonic Corporation (f/k/a Matsushita Electric
                                                                                     Industrial Co., Ltd.)
Defendants' Motion in Limine No. 3: To Exclude All Evidence and                      Panasonic Corporation of North America
Reference at Trial to the U.S. Department of Justice's Criminal      Docket No. 3556 MT Picture Display Co., Ltd
Investigation of the Cathode Ray Tube Industry                                       Toshiba Corporation
                                                                                     Toshiba America, Inc.
                                                                                     Toshiba America Information Systems, Inc.,
                                                                                     Toshiba America Consumer Products, L.L.C.
                                                                                     Toshiba America Electronic Components, Inc.
                                                                                     Koninklijke Philips N.V.
                                                                                     Philips Electronics North America Corporation
                                                                                     Philips Taiwan Ltd.
                                                                                     Philips do Brasil, Ltda.
                                                                                     Thomson SA
                                                                                     Thomson Consumer Electronics, Inc.
                                                                                     Technologies Displays Americas LLC




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                           3                                          Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 5 of 22


NAME OF MOTION                                                  DOCKET NO. MOVING PARTIES

                                                                                Chunghwa Picture Tubes, Ltd.
                                                                                Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                Samsung SDI America, Inc.
                                                                                Samsung SDI Co., Ltd.
                                                                                Samsung SDI (Malaysia) SDN. BHD.
                                                                                Samsung SDI Mexico S.A. DE C.V.
                                                                                Samsung SDI Brasil Ltda.
                                                                                Shenzen Samsung SDI Co., Ltd.
                                                                                Tianjin Samsung SDI Co., Ltd.
                                                                                Hitachi, Ltd.
                                                                                Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                Hitachi America, Ltd.
                                                                                Hitachi Asia, Ltd.
                                                                                Hitachi Electronic Devices (USA), Inc.
                                                                                LG Electronics, Inc.
                                                                                Panasonic Corporation (f/k/a Matsushita Electric
Defendants' Motion in Limine No. 11: To Exclude References to                   Industrial Co., Ltd.)
                                                                Docket No. 3557
Documents or Behavior Not in Evidence                                           Panasonic Corporation of North America
                                                                                MT Picture Display Co., Ltd
                                                                                Toshiba Corporation
                                                                                Toshiba America, Inc.
                                                                                Toshiba America Information Systems, Inc.,
                                                                                Toshiba America Consumer Products, L.L.C.
                                                                                Toshiba America Electronic Components, Inc.
                                                                                Koninklijke Philips N.V.
                                                                                Philips Electronics North America Corporation
                                                                                Philips Taiwan Ltd.
                                                                                Philips do Brasil, Ltda.
                                                                                Mitsubishi Electric Corporation
                                                                                Mitsubishi Electric US, Inc.
                                                                                Mitsubishi Electric Visual Solutions America, Inc.
                                                                                Thomson SA
                                                                                Thomson Consumer Electronics, Inc.
                                                                                Technologies Displays Americas LLC

                                                                                Best Buy Co., Inc.
                                                                                Best Buy Enterprise Services, Inc.
                                                                                Best Buy Purchasing LLC
                                                                                Best Buy Stores, L.P.
                                                                                Best Buy.com LLC
                                                                                Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Plaintiffs’
                                                                                Kmart Corp.
Competitive                                                     Docket No. 3558
                                                                                Alfred H. Siegel, as Trustee of the Circuit City
Intelligence Practices
                                                                                Stores, Inc. Liquidating Trust
                                                                                Target Corp.
                                                                                ViewSonic Corp.
                                                                                Sharp Electronics Corporation
                                                                                Sharp Electronics Manufacturing Company of
                                                                                America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                      4                                           Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 6 of 22


NAME OF MOTION                                                 DOCKET NO. MOVING PARTIES

                                                                               Best Buy Co., Inc.
                                                                               Best Buy Enterprise Services, Inc.
                                                                               Best Buy Purchasing LLC
                                                                               Best Buy Stores, L.P.
                                                                               Best Buy.com LLC
                                                                               Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Downstream                    Kmart Corp.
                                                               Docket No. 3558
Pass-Through                                                                   Alfred H. Siegel, as Trustee of the Circuit City
                                                                               Stores, Inc. Liquidating Trust
                                                                               Target Corp.
                                                                               ViewSonic Corp.
                                                                               Sharp Electronics Corporation
                                                                               Sharp Electronics Manufacturing Company of
                                                                               America, Inc.


                                                                               Best Buy Co., Inc.
                                                                               Best Buy Enterprise Services, Inc.
                                                                               Best Buy Purchasing LLC
                                                                               Best Buy Stores, L.P.
                                                                               Best Buy.com LLC
                                                                               Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Plaintiffs’
                                                                               Kmart Corp.
Private Label CRT                                              Docket No. 3558
                                                                               Alfred H. Siegel, as Trustee of the Circuit City
Products
                                                                               Stores, Inc. Liquidating Trust
                                                                               Target Corp.
                                                                               ViewSonic Corp.
                                                                               Sharp Electronics Corporation
                                                                               Sharp Electronics Manufacturing Company of
                                                                               America, Inc.


                                                                               Best Buy Co., Inc.
                                                                               Best Buy Enterprise Services, Inc.
                                                                               Best Buy Purchasing LLC
                                                                               Best Buy Stores, L.P.
                                                                               Best Buy.com LLC
                                                                               Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Plaintiffs’
                                                                               Kmart Corp.
Purported “Market                                              Docket No. 3558
                                                                               Alfred H. Siegel, as Trustee of the Circuit City
Power”
                                                                               Stores, Inc. Liquidating Trust
                                                                               Target Corp.
                                                                               ViewSonic Corp.
                                                                               Sharp Electronics Corporation
                                                                               Sharp Electronics Manufacturing Company of
                                                                               America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                     5                                           Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 7 of 22


NAME OF MOTION                                                   DOCKET NO. MOVING PARTIES

                                                                                 Best Buy Co., Inc.
                                                                                 Best Buy Enterprise Services, Inc.
                                                                                 Best Buy Purchasing LLC
                                                                                 Best Buy Stores, L.P.
                                                                                 Best Buy.com LLC
                                                                                 Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Plaintiffs’                     Kmart Corp.
                                                                 Docket No. 3558
Ability to Seek Treble Damages and Attorneys’ Fees and Costs                     Alfred H. Siegel, as Trustee of the Circuit City
                                                                                 Stores, Inc. Liquidating Trust
                                                                                 Target Corp.
                                                                                 ViewSonic Corp.
                                                                                 Sharp Electronics Corporation
                                                                                 Sharp Electronics Manufacturing Company of
                                                                                 America, Inc.


                                                                                 Best Buy Co., Inc.
                                                                                 Best Buy Enterprise Services, Inc.
                                                                                 Best Buy Purchasing LLC
                                                                                 Best Buy Stores, L.P.
                                                                                 Best Buy.com LLC
                                                                                 Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument Regarding Other Actions                   Kmart Corp.
                                                                 Docket No. 3558
and Settlements in this MDL                                                      Alfred H. Siegel, as Trustee of the Circuit City
                                                                                 Stores, Inc. Liquidating Trust
                                                                                 Target Corp.
                                                                                 ViewSonic Corp.
                                                                                 Sharp Electronics Corporation
                                                                                 Sharp Electronics Manufacturing Company of
                                                                                 America, Inc.


                                                                                 Best Buy Co., Inc.
                                                                                 Best Buy Enterprise Services, Inc.
                                                                                 Best Buy Purchasing LLC
                                                                                 Best Buy Stores, L.P.
                                                                                 Best Buy.com LLC
                                                                                 Sears, Roebuck and Co.
Motion to Exclude Argument That Plaintiffs’ Claims are Barred                    Kmart Corp.
                                                                 Docket No. 3558
Because They Arise from Foreign Commerce                                         Alfred H. Siegel, as Trustee of the Circuit City
                                                                                 Stores, Inc. Liquidating Trust
                                                                                 Target Corp.
                                                                                 ViewSonic Corp.
                                                                                 Sharp Electronics Corporation
                                                                                 Sharp Electronics Manufacturing Company of
                                                                                 America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                       6                                           Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 8 of 22


NAME OF MOTION                                                     DOCKET NO. MOVING PARTIES

                                                                                   Best Buy Co., Inc.
                                                                                   Best Buy Enterprise Services, Inc.
                                                                                   Best Buy Purchasing LLC
                                                                                   Best Buy Stores, L.P.
                                                                                   Best Buy.com LLC
                                                                                   Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument regarding Plaintiffs’                       Kmart Corp.
                                                                   Docket No. 3558
Alleged Failure to Mitigate Their Damages                                          Alfred H. Siegel, as Trustee of the Circuit City
                                                                                   Stores, Inc. Liquidating Trust
                                                                                   Target Corp.
                                                                                   ViewSonic Corp.
                                                                                   Sharp Electronics Corporation
                                                                                   Sharp Electronics Manufacturing Company of
                                                                                   America, Inc.


                                                                                Best Buy Co., Inc.
                                                                                Best Buy Enterprise Services, Inc.
                                                                                Best Buy Purchasing LLC
                                                                                Best Buy Stores, L.P.
                                                                                Best Buy.com LLC
                                                                                Sears, Roebuck and Co.
Motion to Exclude Live Witnesses from Testifying in Defendants’
                                                                                Kmart Corp.
Case-In-Chief Who Were Not Made Available for Live Testimony in Docket No. 3558
                                                                                Alfred H. Siegel, as Trustee of the Circuit City
Plaintiffs’ Case-In-Chief
                                                                                Stores, Inc. Liquidating Trust
                                                                                Target Corp.
                                                                                ViewSonic Corp.
                                                                                Sharp Electronics Corporation
                                                                                Sharp Electronics Manufacturing Company of
                                                                                America, Inc.


                                                                                  Best Buy Co., Inc.
                                                                                  Best Buy Enterprise Services, Inc.
                                                                                  Best Buy Purchasing LLC
                                                                                  Best Buy Stores, L.P.
                                                                                  Best Buy.com LLC
                                                                                  Sears, Roebuck and Co.
Motion to Exclude Evidence or Argument regarding Incomplete Pass-                 Kmart Corp.
                                                                  Docket No. 3558
Through of Overcharges through Affiliate Entities                                 Alfred H. Siegel, as Trustee of the Circuit City
                                                                                  Stores, Inc. Liquidating Trust
                                                                                  Target Corp.
                                                                                  ViewSonic Corp.
                                                                                  Sharp Electronics Corporation
                                                                                  Sharp Electronics Manufacturing Company of
                                                                                  America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                         7                                           Case No. 3:07-cv-5944, MDL No. 1917
                     Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 9 of 22


NAME OF MOTION                                                        DOCKET NO. MOVING PARTIES

                                                                                      Best Buy Co., Inc.
                                                                                      Best Buy Enterprise Services, Inc.
                                                                                      Best Buy Purchasing LLC
                                                                                      Best Buy Stores, L.P.
                                                                                      Best Buy.com LLC
                                                                                      Sears, Roebuck and Co.
Motion to Establish the Preclusive Effect of, or in the Alternative                   Kmart Corp.
                                                                      Docket No. 3558
Admit, the Decision of the European Commission                                        Alfred H. Siegel, as Trustee of the Circuit City
                                                                                      Stores, Inc. Liquidating Trust
                                                                                      Target Corp.
                                                                                      ViewSonic Corp.
                                                                                      Sharp Electronics Corporation
                                                                                      Sharp Electronics Manufacturing Company of
                                                                                      America, Inc.


                                                                                      Best Buy Co., Inc.
                                                                                      Best Buy Enterprise Services, Inc.
                                                                                      Best Buy Purchasing LLC
                                                                                      Best Buy Stores, L.P.
                                                                                      Best Buy.com LLC
                                                                                      Sears, Roebuck and Co.
Motion to Exclude Percipient Witnesses, Except for One Party                          Kmart Corp.
                                                                      Docket No. 3558
Representative, From the Courtroom Unless They Are Testifying                         Alfred H. Siegel, as Trustee of the Circuit City
                                                                                      Stores, Inc. Liquidating Trust
                                                                                      Target Corp.
                                                                                      ViewSonic Corp.
                                                                                      Sharp Electronics Corporation
                                                                                      Sharp Electronics Manufacturing Company of
                                                                                      America, Inc.


                                                                                  Best Buy Co., Inc.
                                                                                  Best Buy Enterprise Services, Inc.
                                                                                  Best Buy Purchasing LLC
                                                                                  Best Buy Stores, L.P.
                                                                                  Best Buy.com LLC
                                                                                  Sears, Roebuck and Co.
Motion to Exclude Argument or Evidence Regarding Purportedly Pro-
                                                                                  Kmart Corp.
Competitive Justifications For Defendants’ Agreements Regarding   Docket No. 3558
                                                                                  Alfred H. Siegel, as Trustee of the Circuit City
CRT Price, Supply, Production, or Customers
                                                                                  Stores, Inc. Liquidating Trust
                                                                                  Target Corp.
                                                                                  ViewSonic Corp.
                                                                                  Sharp Electronics Corporation
                                                                                  Sharp Electronics Manufacturing Company of
                                                                                  America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                            8                                           Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 10 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                 Best Buy Co., Inc.
                                                                                 Best Buy Enterprise Services, Inc.
                                                                                 Best Buy Purchasing LLC
                                                                                 Best Buy Stores, L.P.
                                                                                 Best Buy.com LLC
                                                                                 Sears, Roebuck and Co.
Motion to Exclude References to and Evidence of Defendants’ Non-                 Kmart Corp.
                                                                 Docket No. 3558
Indictment                                                                       Alfred H. Siegel, as Trustee of the Circuit City
                                                                                 Stores, Inc. Liquidating Trust
                                                                                 Target Corp.
                                                                                 ViewSonic Corp.
                                                                                 Sharp Electronics Corporation
                                                                                 Sharp Electronics Manufacturing Company of
                                                                                 America, Inc.


                                                                                  Best Buy Co., Inc.
                                                                                  Best Buy Enterprise Services, Inc.
                                                                                  Best Buy Purchasing LLC
                                                                                  Best Buy Stores, L.P.
                                                                                  Best Buy.com LLC
                                                                                  Sears, Roebuck and Co.
                                                                                  Kmart Corp.
Motion to Admit Testimony of Summary Witness                      Docket No. 3558
                                                                                  Alfred H. Siegel, as Trustee of the Circuit City
                                                                                  Stores, Inc. Liquidating Trust
                                                                                  Target Corp.
                                                                                  ViewSonic Corp.
                                                                                  Sharp Electronics Corporation
                                                                                  Sharp Electronics Manufacturing Company of
                                                                                  America, Inc.


                                                                                  Best Buy Co., Inc.
                                                                                  Best Buy Enterprise Services, Inc.
                                                                                  Best Buy Purchasing LLC
                                                                                  Best Buy Stores, L.P.
                                                                                  Best Buy.com LLC
                                                                                  Sears, Roebuck and Co.
Motion to Exclude Evidence of or References to the Retailer
                                                                                  Kmart Corp.
Plaintiffs Purchasing Finished Products Containing CRTs from      Docket No. 3558
                                                                                  Alfred H. Siegel, as Trustee of the Circuit City
Plaintiff ViewSonic or Plaintiff Sharp
                                                                                  Stores, Inc. Liquidating Trust
                                                                                  Target Corp.
                                                                                  ViewSonic Corp.
                                                                                  Sharp Electronics Corporation
                                                                                  Sharp Electronics Manufacturing Company of
                                                                                  America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        9                                           Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 11 of 22


NAME OF MOTION                                                       DOCKET NO. MOVING PARTIES

                                                                                     Best Buy Co., Inc.
                                                                                     Best Buy Enterprise Services, Inc.
                                                                                     Best Buy Purchasing LLC
                                                                                     Best Buy Stores, L.P.
                                                                                     Best Buy.com LLC
                                                                                     Sears, Roebuck and Co.
Motion to Exclude Evidence of or References to ViewSonic’s
                                                                                     Kmart Corp.
Purchasing Team Moving Abroad After The Purchases at Issue in        Docket No. 3558
                                                                                     Alfred H. Siegel, as Trustee of the Circuit City
This Case Were Made
                                                                                     Stores, Inc. Liquidating Trust
                                                                                     Target Corp.
                                                                                     ViewSonic Corp.
                                                                                     Sharp Electronics Corporation
                                                                                     Sharp Electronics Manufacturing Company of
                                                                                     America, Inc.


                                                                                     Best Buy Co., Inc.
                                                                                     Best Buy Enterprise Services, Inc.
                                                                                     Best Buy Purchasing LLC
                                                                                     Best Buy Stores, L.P.
                                                                                     Best Buy.com LLC
                                                                                     Sears, Roebuck and Co.
Motion to Exclude References to the Current Financial Condition of                   Kmart Corp.
                                                                     Docket No. 3558
Any of the Named Plaintiffs                                                          Alfred H. Siegel, as Trustee of the Circuit City
                                                                                     Stores, Inc. Liquidating Trust
                                                                                     Target Corp.
                                                                                     ViewSonic Corp.
                                                                                     Sharp Electronics Corporation
                                                                                     Sharp Electronics Manufacturing Company of
                                                                                     America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                           10                                          Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 12 of 22


NAME OF MOTION                                                      DOCKET NO. MOVING PARTIES

                                                                                    Panasonic Corporation (f/k/a Matsushita Electric
                                                                                    Industrial Co., Ltd.)
                                                                                    Panasonic Corporation of North America
                                                                                    MT Picture Display Co., Ltd.
                                                                                    Toshiba Corporation
                                                                                    Toshiba America, Inc.
                                                                                    Toshiba America Information Systems, Inc.
                                                                                    Toshiba America Consumer Products, L.L.C.
                                                                                    Toshiba America Electronic Components, Inc.
                                                                                    LG Electronics, Inc.
                                                                                    Hitachi, Ltd.
                                                                                    Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                    Hitachi America, Ltd.
                                                                                    Hitachi Asia, Ltd.
                                                                                    Hitachi Electronic Devices (USA), Inc.
                                                                                    Koninklijke Philips N.V.
Defendants' Joint Motion in Limine for Pretrial Proffer and Ruling on
                                                                                    Philips Electronics North America Corporation
Admissibility of Alleged Co-Conspirator Statements under Fed. R. E. Docket No. 3559
                                                                                    Philips Taiwan Ltd.
801(d)(2)(E)
                                                                                    Philips do Brasil, Ltda.
                                                                                    Samsung SDI America, Inc.
                                                                                    Samsung SDI Co., Ltd.
                                                                                    Samsung SDI (Malaysia) SDN. BHD.
                                                                                    Samsung SDI Mexico S.A. DE C.V.
                                                                                    Samsung SDI Brasil Ltda.
                                                                                    Shenzen Samsung SDI Co., Ltd.
                                                                                    Tianjin Samsung SDI Co., Ltd.
                                                                                    Chunghwa Picture Tubes, Ltd.
                                                                                    Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                    Thomson SA
                                                                                    Thomson Consumer Electronics, Inc.
                                                                                    Mitsubishi Electric Corporation
                                                                                    Mitsubishi Electric US, Inc.
                                                                                    Mitsubishi Electric Visual Solutions America, Inc.
                                                                                    Technologies Displays Americas LLC

                                                                                    Samsung SDI Co., Ltd.
                                                                                    Samsung SDI America, Inc.
SDI Defendants' Motion In Limine To Prohibit Plaintiffs From                        Samsung SDI (Malaysia) SDN. BHD.
Conflating SDI With Non-Parties, Including But Not Limited to       Docket No. 3561 Samsung SDI Mexico S.A. de C.V.
Samsung Electronics Co., Ltd.                                                       Samsung SDI Brasil Ltda.
                                                                                    Shenzen Samsung SDI Co., Ltd.
                                                                                    Tianjin Samsung SDI Co., Ltd.

                                                                                      Samsung SDI Co., Ltd.
                                                                                      Samsung SDI America, Inc.
                                                                                      Samsung SDI (Malaysia) SDN. BHD.
                                                                                      Samsung SDI Mexico S.A. de C.V.
SDI Defendants' Motion In Limine To Exclude Irrelevant And Highly
                                                                                      Samsung SDI Brasil Ltda.
Prejudicial Portions Of Plaintiffs' Trial Exhibit, Bates Stamped TSA- Docket No. 3565
                                                                                      Shenzen Samsung SDI Co., Ltd.
CRT00077732
                                                                                      Tianjin Samsung SDI Co., Ltd.
                                                                                      Mitsubishi Electric Corporation
                                                                                      Mitsubishi Electric US, Inc.
                                                                                      Mitsubishi Electric Visual Solutions America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                          11                                          Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 13 of 22


NAME OF MOTION                                                       DOCKET NO. MOVING PARTIES

                                                                                     LG Electronics, Inc.
                                                                                     Panasonic Corporation (f/k/a Matsushita Electric
                                                                                     Industrial Co., Ltd.)
                                                                                     Panasonic Corporation of North America
                                                                                     MT Picture Display Co., Ltd.
                                                                                     Hitachi, Ltd.
                                                                                     Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                     Hitachi America, Ltd.
                                                                                     Hitachi Asia, Ltd.
                                                                                     Hitachi Electronic Devices (USA), Inc.
                                                                                     Samsung SDI America, Inc.
                                                                                     Samsung SDI Co., Ltd.
                                                                                     Samsung SDI (Malaysia) SDN. BHD.
                                                                                     Samsung SDI Mexico S.A. DE C.V.
                                                                                     Samsung SDI Brasil Ltda.
                                                                                     Shenzen Samsung SDI Co., Ltd.
Defendants' Motion In Limine to Exclude Plaintiffs' "Price Ladder"                   Tianjin Samsung SDI Co., Ltd.
                                                                     Docket No. 3568
Theory of Recovery                                                                   Thomson SA
                                                                                     Thomson Consumer Electronics, Inc.
                                                                                     Koninklijke Philips N.V.
                                                                                     Philips Electronics North America Corporation
                                                                                     Philips Taiwan Ltd.
                                                                                     Philips do Brasil, Ltda.
                                                                                     Chunghwa Picture Tubes, Ltd.
                                                                                     Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                     Technologies Displays Americas LLC
                                                                                     Toshiba Corporation
                                                                                     Toshiba America, Inc.
                                                                                     Toshiba America Information Systems, Inc.
                                                                                     Toshiba America Consumer Products, L.L.C.
                                                                                     Toshiba America Electronic Components, Inc.
                                                                                     Mitsubishi Electric Corporation
                                                                                     Mitsubishi Electric US, Inc.
                                                                                     Mitsubishi Electric Visual Solutions America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                           12                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 14 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                  Samsung SDI Co., Ltd.
                                                                                  Samsung SDI America, Inc.
                                                                                  Samsung SDI (Malaysia) SDN. BHD.
                                                                                  Samsung SDI Mexico S.A. de C.V.
                                                                                  Samsung SDI Brasil Ltda.
                                                                                  Shenzen Samsung SDI Co., Ltd.
                                                                                  Tianjin Samsung SDI Co., Ltd.
                                                                                  Hitachi, Ltd.
                                                                                  Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                  Hitachi America, Ltd.
                                                                                  Hitachi Asia, Ltd.
                                                                                  Hitachi Electronic Devices (USA), Inc.
                                                                                  LG Electronics, Inc.
                                                                                  Toshiba Corporation
                                                                                  Toshiba America, Inc.
                                                                                  Toshiba America Information Systems, Inc.
Defendants' Joint Motion In Limine To Exclude Improper
                                                                                  Toshiba America Consumer Products, L.L.C.
Characterization Of Or References To Defendants And Alleged Co-   Docket No. 3571
                                                                                  Toshiba America Electronic Components, Inc.
Conspirators
                                                                                  Koninklijke Philips N.V.
                                                                                  Philips Electronics North America Corporation
                                                                                  Philips Taiwan Ltd.
                                                                                  Philips do Brasil, Ltda.
                                                                                  Chunghwa Picture Tubes, Ltd.
                                                                                  Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                  Mitsubishi Electric Corporation
                                                                                  Mitsubishi Electric US, Inc.
                                                                                  Mitsubishi Electric Visual Solutions America, Inc.
                                                                                  Thomson SA
                                                                                  Thomson Consumer Electronics, Inc.
                                                                                  Technologies Displays Americas LLC
                                                                                  Panasonic Corporation (f/k/a Matsushita Electric
                                                                                  Industrial Co., Ltd.)
                                                                                  Panasonic Corporation of North America
                                                                                  MT Picture Display Co., Ltd.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        13                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 15 of 22


NAME OF MOTION                                                  DOCKET NO. MOVING PARTIES

                                                                              LG Electronics, Inc.
                                                                              Panasonic Corporation (f/k/a Matsushita Electric
                                                                              Industrial Co., Ltd.)
                                                                              Panasonic Corporation of North America
                                                                              MT Picture Display Co., Ltd.
                                                                              Hitachi, Ltd.
                                                                              Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                              Hitachi America, Ltd.
                                                                              Hitachi Asia, Ltd.
                                                                              Hitachi Electronic Devices (USA), Inc.
                                                                              Samsung SDI Co., Ltd.
                                                                              Samsung SDI America, Inc.
                                                                              Samsung SDI (Malaysia) SDN. BHD.
                                                                              Samsung SDI Mexico S.A. de C.V.
Defendants' Motion In Limine to Exclude LCD and Other Non-CRT
                                                              Docket No. 3572 Samsung SDI Brasil Ltda.
Product Conspiracies
                                                                              Shenzen Samsung SDI Co., Ltd.
                                                                              Tianjin Samsung SDI Co., Ltd.
                                                                              Thomson SA
                                                                              Thomson Consumer Electronics, Inc.
                                                                              Koninklijke Philips N.V.
                                                                              Philips Electronics North America Corporation
                                                                              Philips Taiwan Ltd.
                                                                              Philips do Brasil, Ltda.
                                                                              Chunghwa Picture Tubes, Ltd.
                                                                              Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                              Technologies Displays Americas LLC
                                                                              Mitsubishi Electric Corporation
                                                                              Mitsubishi Electric US, Inc.
                                                                              Mitsubishi Electric Visual Solutions America, Inc.


                                                                                Toshiba Corporation
The Toshiba Defendants' Motion in Limine to Preclude Evidence                   Toshiba America, Inc.
Regarding Damages Allegedly Suffered by the New York Indirect   Docket No. 3573 Toshiba America Consumer Products, LLC
Purchaser Plaintiff Class Prior to December 23, 1998                            Toshiba America Information Systems, Inc.
                                                                                Toshiba America Electronic Components, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                      14                                        Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 16 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                  Koninklijke Philips N.V.
                                                                                  Philips Electronics North America Corporation
                                                                                  Thomson SA
                                                                                  Thomson Consumer Electronics, Inc.
                                                                                  Technologies Displays Americas LLC
                                                                                   LG Electronics, Inc.
                                                                                  Panasonic Corporation (f/k/a Matsushita Electric
                                                                                  Industrial Co., Ltd.)
                                                                                  MT Picture Display Co., Ltd.
                                                                                  Toshiba Corporation
Joint Defense Motion In Limine to Exclude Evidence of Any Alleged
                                                                  Docket No. 3574 Toshiba America, Inc.
Price-Fixing Conspiracy
                                                                                  Toshiba America Consumer Products, LLC
                                                                                  Toshiba America Information Systems, Inc.
                                                                                  Toshiba America Electronic Components, Inc.
                                                                                   Samsung SDI Co., Ltd.
                                                                                  Samsung SDI America, Inc.
                                                                                  Samsung SDI (Malaysia) SDN. BHD.
                                                                                  Samsung SDI Mexico S.A. de C.V.
                                                                                  Samsung SDI Brasil Ltda.
                                                                                  Shenzen Samsung SDI Co., Ltd.
                                                                                  Tianjin Samsung SDI Co., Ltd.

                                                                                   Toshiba Corporation
                                                                                   Toshiba America, Inc.
The Toshiba Defendants' Motion in Limine to Preclude IPP Alter Ego
                                                                   Docket No. 3576 Toshiba America Information Systems, Inc.
Theories of Liability at Trial
                                                                                   Toshiba America Consumer Products, LLC
                                                                                   Toshiba America Electronic Components, Inc.

                                                                                  Toshiba Corporation
                                                                                  Toshiba America, Inc.
The Toshiba Defendants' Motion in Limine to Exclude Evidence of
                                                                  Docket No. 3577 Toshiba America Information Systems, Inc.
Toshiba's Sales to Sharp Corporation
                                                                                  Toshiba America Consumer Products, LLC
                                                                                  Toshiba America Electronic Components, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        15                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 17 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                  Samsung SDI Co., Ltd.
                                                                                  Samsung SDI America, Inc.
                                                                                  Samsung SDI (Malaysia) SDN. BHD.
                                                                                  Samsung SDI Mexico S.A. de C.V.
                                                                                  Samsung SDI Brasil Ltda.
                                                                                  Shenzen Samsung SDI Co., Ltd.
                                                                                  Tianjin Samsung SDI Co., Ltd.
                                                                                  Hitachi, Ltd.
                                                                                  Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                  Hitachi America, Ltd.
                                                                                  Hitachi Asia, Ltd.
                                                                                  Hitachi Electronic Devices (USA), Inc.
                                                                                  LG Electronics, Inc.
                                                                                  Panasonic Corporation (f/k/a Matsushita Electric
                                                                                  Industrial Co., Ltd.)
                                                                                  Panasonic Corporation of North America
Defendants' Motion in Limine To Exclude Dr. Frankel's Inflation                   MT Picture Display Co., Ltd.
                                                                  Docket No. 3578
Adjusted Damages                                                                  Toshiba Corporation
                                                                                  Toshiba America, Inc.
                                                                                  Toshiba America Information Systems, Inc.
                                                                                  Toshiba America Consumer Products, L.L.C.
                                                                                  Toshiba America Electronic Components, Inc.
                                                                                  Koninklijke Philips N.V.
                                                                                  Philips Electronics North America Corporation
                                                                                  Philips Taiwan Ltd.
                                                                                  Philips do Brasil, Ltda.
                                                                                  Chunghwa Picture Tubes, Ltd.
                                                                                  Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                  Mitsubishi Electric Corporation, Mitsubishi Electric
                                                                                  US, Inc.
                                                                                  Mitsubishi Electric Visual Solutions America, Inc.
                                                                                  Thomson SA
                                                                                  Thomson Consumer Electronics, Inc.
                                                                                  Technologies Displays Americas LLC




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        16                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 18 of 22


NAME OF MOTION                                                   DOCKET NO. MOVING PARTIES

                                                                                 Toshiba Corporation
                                                                                 Toshiba America, Inc.
                                                                                 Toshiba America Consumer Products, LLC
                                                                                 Toshiba America Information Systems, Inc.
                                                                                 Toshiba America Electronic Components, Inc.
                                                                                 Chunghwa Picture Tubes, Ltd
                                                                                 Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                 Samsung SDI America, Inc.
                                                                                 Samsung SDI Co., Ltd.
                                                                                 Samsung SDI (Malaysia) SDN. BHD.
                                                                                 Samsung SDI Mexico S.A. DE C.V.
                                                                                 Samsung SDI Brasil Ltda.
                                                                                 Shenzen Samsung SDI Co., Ltd.
                                                                                 Tianjin Samsung SDI Co., Ltd.
                                                                                 Hitachi, Ltd.
                                                                                 Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
Defendants' Joint Motion in Limine to Allow Full Defense
                                                                                 Hitachi America, Ltd.
Examination of Common Witnesses During Plaintiffs' Case-In-Chief Docket No. 3579
                                                                                 Hitachi Asia, Ltd.
and Limit Use of Deposition Testimony
                                                                                 Hitachi Electronic Devices (USA), Inc.
                                                                                 LG Electronics, Inc.
                                                                                 Panasonic Corporation (f/k/a Matsushita Electric
                                                                                 Industrial Co., Ltd.)
                                                                                 Panasonic Corporation of North America
                                                                                 MT Picture Display Co., Ltd.
                                                                                 Koninklijke Philips N.V.
                                                                                 Philips Electronics North America Corporation
                                                                                 Philips Taiwan Ltd.
                                                                                 Philips do Brasil, Ltda.
                                                                                 Mitsubishi Electric Corporation
                                                                                 Mitsubishi Electric US, Inc.
                                                                                 Mitsubishi Electric Visual Solutions America, Inc.
                                                                                  Thomson SA
                                                                                 Thomson Consumer Electronics, Inc.
                                                                                 Technologies Displays Americas LLC




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                       17                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 19 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                  Samsung SDI Co., Ltd.
                                                                                  Samsung SDI America, Inc.
                                                                                  Samsung SDI (Malaysia) SDN. BHD.
                                                                                  Samsung SDI Mexico S.A. de C.V.
                                                                                  Samsung SDI Brasil Ltda.
                                                                                  Shenzen Samsung SDI Co., Ltd.
                                                                                  Tianjin Samsung SDI Co., Ltd.
                                                                                  Hitachi, Ltd.
                                                                                  Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                  Hitachi America, Ltd.
                                                                                  Hitachi Asia, Ltd.
                                                                                  Hitachi Electronic Devices (USA), Inc.
                                                                                  LG Electronics, Inc.
                                                                                  Toshiba Corporation
                                                                                  Toshiba America, Inc.
                                                                                  Toshiba America Information Systems, Inc.
Defendants' Joint Motion In Limine To Exclude Evidence Or
                                                                                  Toshiba America Consumer Products, L.L.C.
Argument Of Positive Net Worth Of Defendants Or Their Purportedly Docket No. 3581
                                                                                  Toshiba America Electronic Components, Inc.
Affiliated Companies
                                                                                  Koninklijke Philips N.V.
                                                                                  Philips Electronics North America Corporation
                                                                                  Philips Taiwan Ltd.
                                                                                  Philips do Brasil, Ltda.
                                                                                  Chunghwa Picture Tubes, Ltd.
                                                                                  Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                  Mitsubishi Electric Corporation
                                                                                  Mitsubishi Electric US, Inc.
                                                                                  Mitsubishi Electric Visual Solutions America, Inc.
                                                                                  Thomson SA
                                                                                  Thomson Consumer Electronics, Inc.
                                                                                  Technologies Displays Americas LLC
                                                                                  Panasonic Corporation (f/k/a Matsushita Electric
                                                                                  Industrial Co., Ltd.)
                                                                                  Panasonic Corporation of North America
                                                                                  MT Picture Display Co., Ltd.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        18                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 20 of 22


NAME OF MOTION                                                      DOCKET NO. MOVING PARTIES

                                                                                    Toshiba Corporation,
                                                                                    Toshiba America, Inc.
                                                                                    Toshiba America Consumer Products, LLC
                                                                                    Toshiba America Information Systems, Inc.
                                                                                    Toshiba America Electronic Components, Inc.
                                                                                    Chunghwa Picture Tubes, Ltd
                                                                                    Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                    Samsung SDI America, Inc.
                                                                                    Samsung SDI Co., Ltd.
                                                                                    Samsung SDI (Malaysia) SDN. BHD.
                                                                                    Samsung SDI Mexico S.A. DE C.V.
                                                                                    Samsung SDI Brasil Ltda.
Defendants' Motion in Limine to Exclude Evidence or Testimony                       Shenzen Samsung SDI Co., Ltd.
                                                                    Docket No. 3583
Pertaining to Foreign Antitrust Investigations                                      Tianjin Samsung SDI Co., Ltd.
                                                                                    LG Electronics, Inc.
                                                                                    Panasonic Corporation (f/k/a Matsushita Electric
                                                                                    Industrial Co., Ltd.)
                                                                                    Panasonic Corporation of North America
                                                                                    MT Picture Display Co., Ltd.
                                                                                    Koninklijke Philips N.V.
                                                                                    Philips Electronics North America Corporation
                                                                                    Philips Taiwan Ltd.
                                                                                    Philips do Brasil, Ltda.
                                                                                    Thomson SA
                                                                                    Thomson Consumer Electronics, Inc.
                                                                                    Technologies Displays Americas LLC

                                                                                    Toshiba Corporation,
                                                                                    Toshiba America, Inc.
The Toshiba Defendants' Motion to Decertify the Statewide IPP
                                                                    Docket No. 3585 Toshiba America Consumer Products, LLC
Classes for Damages
                                                                                    Toshiba America Information Systems, Inc.
                                                                                    Toshiba America Electronic Components, Inc.


                                                                                    Toshiba Corporation,
                                                                                    Toshiba America, Inc.
The Toshiba Defendants' Motion for an Order to Direct Certain
                                                                    Docket No. 3588 Toshiba America Consumer Products, LLC
Indirect Purchaser Class Representatives to Testify Live at Trial
                                                                                    Toshiba America Information Systems, Inc.
                                                                                    Toshiba America Electronic Components, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                          19                                         Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 21 of 22


NAME OF MOTION                                                    DOCKET NO. MOVING PARTIES

                                                                                   LG Electronics, Inc.
                                                                                   Panasonic Corporation (f/k/a Matsushita Electric
                                                                                   Industrial Co., Ltd.)
                                                                                   Panasonic Corporation of North America
                                                                                   MT Picture Display Co., Ltd.
                                                                                   Hitachi, Ltd.
                                                                                   Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                   Hitachi America, Ltd.
                                                                                   Hitachi Asia, Ltd.
                                                                                   Hitachi Electronic Devices (USA), Inc.
                                                                                   Samsung SDI America, Inc.
                                                                                   Samsung SDI Co., Ltd.
                                                                                   Samsung SDI (Malaysia) SDN. BHD.
                                                                                   Samsung SDI Mexico S.A. DE C.V.
                                                                                   Samsung SDI Brasil Ltda.
                                                                                   Shenzen Samsung SDI Co., Ltd.
Defendants' Motion In Limine To Exclude Plea By Samsung SDI Co,
                                                                                   Tianjin Samsung SDI Co., Ltd.
Ltd. As To Non-Pleading Defendants Or, Alternatively, To Provide A Docket No. 3589
                                                                                   Thomson SA
Limiting Instruction
                                                                                   Thomson Consumer Electronics, Inc.
                                                                                    Koninklijke Philips N.V.
                                                                                   Philips Electronics North America Corporation
                                                                                   Philips Taiwan Ltd.
                                                                                   Philips do Brasil, Ltda.
                                                                                   Chunghwa Picture Tubes, Ltd
                                                                                   Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                   Technologies Displays Americas LLC
                                                                                   Toshiba Corporation
                                                                                   Toshiba America, Inc.
                                                                                   Toshiba America Information Systems, Inc.
                                                                                   Toshiba America Consumer Products, L.L.C.
                                                                                   Toshiba America Electronic Components, Inc.
                                                                                   Mitsubishi Electric Corporation
                                                                                   Mitsubishi Electric US, Inc.
                                                                                   Mitsubishi Electric Visual Solutions America, Inc.

                                                                                  Toshiba Corporation
                                                                                  Toshiba America, Inc.
                                                                                  Toshiba America Information Systems, Inc.
                                                                                  Toshiba America Consumer Products, L.L.C.
                                                                                  Toshiba America Electronic Components, Inc.
                                                                                  LG Electronics, Inc.
Defendants' Joint Motion in Limine To Exclude Certain Expert
                                                                  Docket No. 3591 Koninklijke Philips N.V.
Testimony of Jerry A. Hausman
                                                                                  Philips Electronics North America Corporation
                                                                                  Philips Taiwan Ltd.
                                                                                  Philips do Brasil, Ltda.
                                                                                  Technologies Displays Americas LLC
                                                                                  Thomson SA
                                                                                  Thomson Consumer Electronics, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                        20                                          Case No. 3:07-cv-5944, MDL No. 1917
                    Case 4:07-cv-05944-JST Document 4071-13 Filed 09/23/15 Page 22 of 22


NAME OF MOTION                                                      DOCKET NO. MOVING PARTIES

                                                                                    Samsung SDI America, Inc.
                                                                                    Samsung SDI Co., Ltd.
                                                                                    Samsung SDI (Malaysia) SDN. BHD.
                                                                                    Samsung SDI Mexico S.A. DE C.V.
                                                                                    Samsung SDI Brasil Ltda.
Joint Defense Motion In Limine to Exclude Evidence Related to a
                                                                    Docket No. 3593 Shenzen Samsung SDI Co., Ltd.
Violation of the Antitrust Laws Under a Rule of Reason Analysis
                                                                                    Tianjin Samsung SDI Co., Ltd
                                                                                    Thomson SA
                                                                                    Thomson Consumer Electronics, Inc.
                                                                                    Technologies Displays Americas LLC
                                                                                    LG Electronics, Inc.

                                                                                    Toshiba Corporation
Toshiba Defendants' Motion to Strike Class Representatives with                     Toshiba America, Inc.
Inadequate Proof of Their Individual Purchases of Televisions or    Docket No. 3595 Toshiba America Information Systems, Inc.
Monitors                                                                            Toshiba America Consumer Products, L.L.C.
                                                                                    Toshiba America Electronic Components, Inc.

                                                                                    LG Electronics, Inc.
                                                                                    Panasonic Corporation (f/k/a Matsushita Electric
                                                                                    Industrial Co., Ltd.)
                                                                                    MT Picture Display Co., Ltd.
                                                                                    Hitachi, Ltd.
                                                                                    Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                    Hitachi Asia, Ltd.
                                                                                    Hitachi America, Ltd.
                                                                                    Hitachi Electronic Devices (USA), Inc.
                                                                                    Samsung SDI America, Inc.
                                                                                    Samsung SDI Co., Ltd.
                                                                                    Samsung SDI (Malaysia) SDN. BHD.
                                                                                    Samsung SDI Mexico S.A. DE C.V.
Motion In Limine To Permit Evidence and Argument Regarding                          Samsung SDI Brasil Ltda.
                                                                    Docket No. 3597
Upstream Pass-On and Plaintiffs' Bargaining Power                                   Shenzen Samsung SDI Co., Ltd.
                                                                                    Tianjin Samsung SDI Co., Ltd.
                                                                                    Thomson SA
                                                                                    Thomson Consumer Electronics, Inc.
                                                                                    Koninklijke Philips N.V.
                                                                                    Philips Electronics North America Corporation
                                                                                    Philips Taiwan Ltd.
                                                                                    Philips do Brasil, Ltda.
                                                                                    Mitsubishi Electric Corporation
                                                                                    Technologies Displays Americas LLC
                                                                                    Mitsubishi Electric US, Inc.
                                                                                    Mitsubishi Electric Visual Solutions America, Inc.
                                                                                    Chunghwa Picture Tubes, Ltd.
                                                                                    Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.

                                                                                    Sharp Electronics Corporation and
Motion in Limine to Exclude Evidence Related to the Role of Sharp
                                                                    Docket No. 3599 Sharp Electronics Manufacturing Company of
Companies in the TFT-CRT Antitrust Litigations
                                                                                    America, Inc.


                                                                                    Mitsubishi Electric Corporation
Mitsubishi Electric's Motions In Limine Nos. 1-3                    Docket No. 3601 Mitsubishi Electric US, Inc.
                                                                                    Mitsubishi Electric Visual Solutions America, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                          21                                         Case No. 3:07-cv-5944, MDL No. 1917
